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                           8
                             Attorneys for Defendant New York
                           9 Marine and General Insurance Company
                       10                         UNITED STATES DISTRICT COURT
                       11           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                       12
                       13 Travelers Commercial Insurance             Case No. 2:21-cv-5832-GW (PDx)
                          Company, a Connecticut corporation,
                       14                                            DEFENDANT NEW YORK MARINE
                                      Plaintiff,                     AND GENERAL INSURANCE
                       15                                            COMPANY’S NOTICE OF MOTION
                                v.                                   AND MOTION TO DISMISS
                       16                                            COMPLAINT OR,
                          New York Marine and General                ALTERNATIVELY, PARTIAL
                       17 Insurance Company, a New York              MOTION TO DISMISS EQUITABLE
                          corporation                                CONTRIBUTION CLAIM AND
                       18                                            MOTION FOR MORE DEFINITE
                                      Defendant.                     STATEMENT
                       19
                                                                     FRCP 12(b)(6), 12(e)
                       20
                                                                     Date:          November 18, 2021
                       21                                            Time:          8:30 a.m.
                                                                     Judge:         Hon. George H. Wu
                       22                                            Courtroom:     9D
                       23         TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
                       24         PLEASE TAKE NOTICE that on November 18, 2021, at 8:30 a.m., or as soon
                       25 thereafter as this matter may be heard in Courtroom 9D of the above-entitled court
                       26 located at 350 W. 1st Street, Los Angeles, California 90012, Defendant New York
                       27 Marine and General Insurance Company (“New York Marine”), pursuant to Rule
                       28 12(b)(6) of the Federal Rules of Civil Procedure, will and hereby does move the Court
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &
                               NOTICE OF MOTION AND MOTION TO DISMISS FAC OR, ALTERNATIVELY PARTIAL MOTION TO
   CARRUTH LLP                     DISMISS EQUITABLE CONTRIBUTION CLAIM AND FOR MORE DEFINITE STATEMENT
7647 NORTH FRESNO STREET
    FRESNO, CA 93720                                         (FRCP 12(b)(6), 12(e))
                  Case 2:21-cv-05832-GW-PD Document 17 Filed 09/21/21 Page 2 of 5 Page ID #:260




                           1 to dismiss the First Amended Complaint filed by Plaintiff Travelers Commercial
                           2 Insurance Company (“Travelers”) in its entirely for “failure to state a claim upon
                           3 which relief can be granted.” Alternatively, New York Marine will and hereby does
                           4 move this Court: (1) to dismiss the second cause of action for “Equitable Contribution
                           5 of Defense Expenses” in the First Amended Complaint; and (2) to order Travelers to
                           6 make a “a more definite statement” of the remaining allegations of the First Amended
                           7 Complaint pursuant to FRCP 12(e).
                           8        This motion to dismiss is made on the ground that the First Amended
                           9 Complaint fails to state a claim upon which relief can be granted in that Travelers’
                       10 allegations, together with both facts of which judicial notice may be taken and facts
                       11 set forth in pleadings and letters referred to in the Complaint considered under the
                       12 “Incorporation by Reference” doctrine, fail to demonstrate that New York Marine
                       13 either owed or owes a duty to provide independent counsel pursuant to Civil Code
                       14 § 2860 to a common Insured in the underlying action venued in the Circuit Court of
                       15 Fairfax County, Virginia, Case No. 2019 02911. As a result, the allegations of the
                       16 FAC fail to show that New York Marine, which has been otherwise providing a
                       17 defense through counsel it appointed, is equitably obligated to reimburse Travelers
                       18 for fees generated by independent counsel.           Fed. Ins. Co. v. MBL, Inc., 219
                       19 Cal.App.4th 29, 48-49 (2013). Under Civil Code § 1646, the New York Marine policy
                       20 is to be interpreted according to the laws of the place where it is to be performed.
                       21 Virginia law, unlike California law, does not recognize that an attorney appointed by
                       22 a defending insurer is in a “tripartite” relationship with or otherwise has an attorney-
                       23 client relationship with the insurer. Thus, defense counsel appointed by New York
                       24 Marine to defend the mutual insured did not have an attorney-client relationship with
                       25 New York Marine from which a conflict of interest could even arise. Secondly, even
                       26 assuming that California law applies, an insured is only entitled to independent
                       27 counsel where a “conflict of interest” exists. However, since defense counsel in
                       28 Virginia is only obligated to comply with the Virginia Code of Professional
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   CARRUTH LLP                  NOTICE OF MOTION AND MOTION TO DISMISS FAC OR, ALTERNATIVELY PARTIAL MOTION TO
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    FRESNO, CA 93720                DISMISS EQUITABLE CONTRIBUTION CLAIM AND FOR MORE DEFINITE STATEMENT
                  Case 2:21-cv-05832-GW-PD Document 17 Filed 09/21/21 Page 3 of 5 Page ID #:261




                           1 Responsibility and not the California Rules of Professional Responsibility, no conflict
                           2 of interest exists as under Virginia law an attorney appointed by an insurer only has
                           3 the insured for a client. Furthermore, the reservation of rights letter issued by New
                           4 York Marine did not “reserve … rights on a[ny] given issue” whose “outcome [could]
                           5 be controlled by counsel first retained by [New York Marine] for the defense of the
                           6 claim” which could thereby create any actual conflict of interest necessitating the
                           7 provision of independent counsel under Civil Code § 2860(b). Moreover, and
                           8 consequently, Travelers’ allegations fail to state any legally viable breach of contract
                           9 claim against New York Marine, since Travelers is a stranger to the New York Marine
                       10 policy and has no standing to assert any claims on behalf of the Insured that New
                       11 York Marine has failed to discharge all of its defense obligations under the New York
                       12 Marine Policy. Additionally, Travelers fails to allege that New York Marine is in
                       13 breach of any separate, enforceable intra-insurance agreement between Travelers and
                       14 New York Marine. As a consequence of the foregoing, the First Amended Complaint
                       15 fails to allege facts sufficient to state the purported claims alleged against New York
                       16 Marine for declaratory relief or equitable contribution.
                       17           Additionally, and in the alternative, New York Marine moves this Court to
                       18 dismiss the second cause of action for “Equitable Contribution of Defense Expenses”
                       19 for failure to state a claim for relief for the same reasons stated above. Also, and
                       20 alternatively, New York Marine moves this Court for “a more definite statement” of
                       21 the allegations of the First Amended Complaint pursuant to FRCP 12(e) insofar as the
                       22 First Amended Complaint in conjunction with its second cause of action for equitable
                       23 contribution: (1) appears to allege that New York Marine is in breach of a separate
                       24 arrangement for New York Marine to pay one-half the costs of independent counsel
                       25 as of November, 2020 – even though the First Amended Complaint states no breach
                       26 of contract claim and such an alleged breach of contract cannot support Travelers’
                       27 equitable contribution claim as a matter of law; and (2) Travelers appears to be
                       28 attempting to allege that New York Marine is in breach of its defense obligations to
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    FRESNO, CA 93720                DISMISS EQUITABLE CONTRIBUTION CLAIM AND FOR MORE DEFINITE STATEMENT
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                           1 the Insured by failing to provide adequate funds to Virginia defense counsel to fund
                           2 the Insureds’ defense, notwithstanding the fact that Travelers has no standing to assert
                           3 such a claim under well-established California law.
                           4               This Motion is based on this Notice of Motion and Motion, the accompanying
                           5 Memorandum of Points and Authorities, the Declaration of James P. Wagoner
                           6 together with exhibits attached thereto, the Request for Judicial Notice together with
                           7 facts set forth therein as shown by the exhibits attached to the Declaration of James
                           8 P. Wagoner, and all pleadings and papers of record and on file in this case, and such
                           9 additional authority and argument as may be presented at or before the time this
                       10 Motion is heard or submitted.
                       11                  This Motion is made following the conference of counsel pursuant to L.R. 7-3,
                       12 which took place on September 14, 2021.
                       13
                               Dated: September 21, 2021
                       14                                                By:       /s/ James. P. Wagoner
                       15                                                             James P. Wagoner
                                                                                        Lejf E. Knutson
                       16                                                          Nicholas H. Rasmussen
                       17                                                            Graham Van Leuven
                                                                        Attorneys for Defendant New York Marine and
                       18                                                        General Insurance Company
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                           1                                 PROOF OF SERVICE
                           2   Travelers Commercial Insurance Company v. New York Marine and General
                                                         Insurance Company
                           3                      Case No. 2:21-cv-5832-GW (PDx)
                           4 STATE OF CALIFORNIA, COUNTY OF FRESNO
                           5       At the time of service, I was over 18 years of age and not a party to this action.
                             I am employed in the County of Fresno, State of California. My business address is
                           6 7647 North Fresno Street, Fresno, CA 93720.
                           7    On September 21, 2021, I served true copies of the following document(s)
                          described as DEFENDANT NEW YORK MARINE AND GENERAL
                        8 INSURANCE COMPANY’S NOTICE OF MOTION AND MOTION TO
                          DISMISS COMPLAINT OR, ALTERNATIVELY, PARTIAL MOTION TO
                        9 DISMISS EQUITABLE CONTRIBUTION CLAIM AND MOTION FOR
                          MORE DEFINITE STATEMENT on the interested parties in this action as follows:
                       10
                          Mark D. Peterson
                       11 Kathleen O. Peterson
                          Amy Howse
                       12 Cates Peterson LLP
                          4100 Newport Place, Suite 230
                       13 Newport Beach, CA 92660
                          Telephone: (949) 724-1180
                       14 Email: markpeterson@catespeterson.com
                          kpeterson@catespeterson.com
                       15 ahowse@catespeterson.com
                       16 Attorneys  for   Plaintiff Travelers
                          Commercial Insurance Company
                       17
                       18        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                          the document(s) with the Clerk of the Court by using the CM/ECF system.
                       19 Participants in the case who are registered CM/ECF users will be served by the
                          CM/ECF system. Participants in the case who are not registered CM/ECF users will
                       20 be served by mail or by other means permitted by the court rules.
                       21      I declare under penalty of perjury under the laws of the United States of
                          America that the foregoing is true and correct and that I am employed in the office of
                       22 a member of the bar of this Court at whose direction the service was made.
                       23           Executed on September 21, 2021, at Fresno, California.
                       24
                       25                                                /s/ Marisela Taylor
                                                                         Marisela Taylor
                       26
                       27
                       28       NOTICE OF MOTION AND MOTION TO DISMISS FAC OR, ALTERNATIVELY PARTIAL MOTION TO
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &
                                    DISMISS EQUITABLE CONTRIBUTION CLAIM AND FOR MORE DEFINITE STATEMENT
   CARRUTH LLP                                                (FRCP 12(b)(6), 12(e))
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    FRESNO, CA 93720
